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            Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &
            Email Address
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        Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
         INC., and SCOOBUR, LLC
                                                       UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES

            In re:                                                                      CASE NO.: 2:19-bk-14989-WB
            SCOOBEEZ, et al.1                                                           Jointly Administered: 2:19-bk-14991-WB; 2:19-bk-14997-WB
            Debtors and Debtors in Possession.
                                                                                        CHAPTER: 11


                                                                                        NOTICE OF LODGMENT OF ORDER IN
                                                                                        BANKRUPTCY CASE RE: MOTION FOR ENTRY
                                                                                        OF ORDER (I) AUTHORIZING THE SALE OF
            Affects:
                                                                                        SUBSTANTIALLY ALL OF THE ASSETS OF
            ■ All Debtors
                                                                                        DEBTOR OUTSIDE THE ORDINARY COURSE
            □ Scoobeez, ONLY                                                            OF BUSINESS, FREE AND CLEAR OF ALL
            □ Scoobeez Global, Inc., ONLY                                               LIENS, CLAIMS, ENCUMBRANCES AND
            □ Scoobur LLC, ONLY                                                         INTERESTS, SUBJECT TO HIGHER AND
                                                                                        BETTER BIDS; (II) AUTHORIZING THE
                                                                                        ASSUMPTION AND ASSIGNMENT OF
                                                                                        CERTAIN EXECUTORY CONTRACTS AND
                                                                                        UNEXPIRED LEASES IN CONNECTION WITH
                                                                                        SUCH SALE; AND (III) GRANTING RELATED
                                                                                        RELIEF
        PLEASE TAKE NOTE that the order titled ORDER DENYING MOTION FOR ENTRY OF ORDER (I) AUTHORIZING THE
        SALE OF SUBSTANTIALLY ALL OF THE ASSETS OF DEBTOR OUTSIDE THE ORDINARY COURSE OF BUSINESS,
        FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS, SUBJECT TO HIGHER AND
        BETTER BIDS; (II) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS
        AND UNEXPIRED LEASES IN CONNECTION WITH SUCH SALE; AND (III) GRANTING RELATED RELIEF was lodged
        on 11/26/2019 and is attached. This order relates to the motion which is docket number 329.




        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
        Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.
                       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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        Attorneys for Debtors and Debtors-in-
    7   Possession SCOOBEEZ, SCOOBEEZ GLOBAL,
        INC., and SCOOBUR, LLC
    8
                                     UNITED STATES BANKRUPTCY COURT
    9
                                      CENTRAL DISTRICT OF CALIFORNIA
  10                                       LOS ANGELES DIVISION
  11                                                         Case No. 2:19-bk-14989-WB
            In re:                                           Jointly Administered:
  12                                                         2:19-bk-14991-WB; 2:19-bk-14997-WB
            SCOOBEEZ, et al.1
  13                                                         Chapter 11
                     Debtors and Debtors in Possession.
  14                                                         ORDER DENYING MOTION FOR ENTRY
         Affects:                                            OF ORDER (I) AUTHORIZING THE SALE
  15                                                         OF SUBSTANTIALLY ALL OF THE
         ■ All Debtors                                       ASSETS OF DEBTOR OUTSIDE THE
  16                                                         ORDINARY COURSE OF BUSINESS, FREE
         □ Scoobeez, ONLY                                    AND CLEAR OF ALL LIENS, CLAIMS,
  17                                                         ENCUMBRANCES AND INTERESTS,
         □ Scoobeez Global, Inc., ONLY                       SUBJECT TO HIGHER AND BETTER
  18                                                         BIDS; (II) AUTHORIZING THE
         □ Scoobur LLC, ONLY                                 ASSUMPTION AND ASSIGNMENT OF
  19                                                         CERTAIN EXECUTORY CONTRACTS
                                                             AND UNEXPIRED LEASES IN
  20                                                         CONNECTION WITH SUCH SALE; AND
                                                             (III) GRANTING RELATED RELIEF
  21
                                                              Hearing:
  22
                                                              Date:         November 18, 2019
  23                                                          Time:         10:00 a.m.
                                                              Location:     255 E. Temple St.
  24                                                                        Courtroom 1375, 13th Floor
                                                                            Los Angeles, CA 90012
  25

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  27
        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.
                                                                                   ORDER DENYING SALE MOTION
                                                          -1-                        Case No. 2:19-bk-14989-WB
4851-0075-4606.2
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 1          On November 18, 2019 at 10:00 a.m., the Debtors’ Motion for Entry of Order (I) Authorizing the
 2   Sale of Substantially All of the Assets of Debtor Outside The Ordinary Course Of Business, Free and
 3   Clear of All Liens, Claims, Encumbrances and Interests, Subject to Higher and Better Bids; (II)
 4   Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases in
 5   Connection With Such Sale; and (III) Granting Related Relief [Docket No. 329] (the “Sale Motion”) by
 6   Scoobeez, Scoobeez Global, Inc. and Scoobur, LLC came regularly before the above-captioned
 7   bankruptcy court (the “Court”) for hearing. Appearances were as noted in the record. The Court has
 8   duly considered all relevant pleadings, papers, and evidence filed in support of and in opposition to the
 9   Sale Motion, the record, pleadings, and other documents on file in the above-referenced jointly
10   administered bankruptcy cases, and the statements of counsel at the hearing on the Sale Motion (the
11   “Hearing”).
12          For the reasons set forth above and on the record at the Hearing, and good cause appearing
13   therefor,
14          IT IS HEREBY ORDERED that the Sale Motion is denied.
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                                               PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: Foley &
        Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

        A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
        CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
        (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
        Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
        11/26/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
        following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                   Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL: On (date) 11/26/2019, I served the following persons and/or entities at the last
        known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
        envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
        constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                                  Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
        for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
        the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
        such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
        that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
        filed.
                                                                                    Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
        11/26/2019                     Sonia Gaeta                                                  /s/Sonia Gaeta
         Date                         Printed Name                                                    Signature




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        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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